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OF TEXAS



NO. WR-73,841-01




EX PARTE CHRISTOPHER D’WAYNE WILEY, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. A60730-R
IN THE 128TH DISTRICT COURT FROM ORANGE COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O R D E R

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
assault and was sentenced to thirty years’ imprisonment. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On May 26, 2010, this Court remanded this application to the trial court for findings of fact
and conclusions of law.  On June 18, 2010, the trial court signed findings of fact and conclusions of
law that were based on the affidavit from trial counsel.  The trial court recommended that relief be
denied.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Based on the trial court’s findings of fact as well as this Court’s independent review of the
entire record, we deny relief.

Filed: August 25, 2010
Do not publish  


